Case 17-26896         Doc 89  Filed 04/26/18 Entered 04/26/18 18:06:29           Desc Main
                                Document     Page 1 of 3
                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


In re the matter of
                                                     NO. 17-26896
KIISHA SMITH                                         CHAPTER 13
d/b/a BUILDING BRIGHTER MINDS
FOR THE FUTURE
d/b/a BBMF,

               Debtor.                               JUDGE DONALD R. CASSLING
                                                     Confirmation: 5/10/18 @ 10:00 a.m.


           OBJECTION TO CONFIRMATION OF PLAN FILED 4/11/18 DOC #84

       Now comes WELLS FARGO BANK, N.A., D/B/A WELLS FARGO DEALER
SERVICES, its successors and/or assigns, (hereinafter referred to as “Movant”), a creditor
herein, by TERRI M. LONG, its attorney, and objects to the confirmation of the amended
plan filed 4/11/18 Document #84.      In support thereof, creditor respectfully represents as
follows:


       1. On September 8, 2017, the Debtor herein filed a petition for relief pursuant to
Title 11, Chapter 13, United States Code. Said case was dismissed on October 26, 2017,
but reinstated on November 16, 2017.


       2. Movant is a creditor of the Debtor with respect to a certain indebtedness secured
by a lien upon a 2012 Mazda CX-9 motor vehicle, with an outstanding balance of
$10,252.22 as of the petition date.


       3. This is Movant’s third objection to a plan filed by the Debtor in this case.


       4. The modified plan dated 4/11/18 provides for the surrender of the 2012 Mazda
CX-9 to Movant.
Case 17-26896      Doc 89    Filed 04/26/18 Entered 04/26/18 18:06:29            Desc Main
                               Document     Page 2 of 3



       5. The plan also provides as follows: “The balance will be zerod (sic) out since
the value is more than what’s owed. That both co-signer and signer will be released of
further debt, not owing balance for either party. Wells Fargo Dealers Services shall not be
paid any secure (sic) amount of any claims.” (See, Debtor’s Plan filed 4/11/18 Document
#84 at §G.)


       6. Movant objects to this provision in that creditor should be allowed to amend its
timely-filed secured claim to an unsecured deficiency claim, after the repossession and sale
of said vehicle.


       7. In addition, the plan cannot determine the amounts owed to the non-filing co-
buyer, unless specifically providing for a payment in full of any deficiency balance, to
protect the co-buyer.


       WHEREFORE, WELLS FARGO BANK, N.A., D/B/A WELLS FARGO DEALER
SERVICES, its successors and/or assigns, prays that this Honorable Court enter an Order
denying confirmation of said plan, and for such other and further relief as this Court may
deem just.
                                             WELLS FARGO BANK, N.A., D/B/A
                                             WELLS FARGO DEALER SERVICES, its
                                             Successors and/or Assigns

                                             BY: _____/s/ Terri M. Long       _______
                                                      TERRI M. LONG
LAW OFFICES OF TERRI M. LONG
2056 Ridge Road
Homewood, Illinois 60430
Phone: (708) 922-3301
Fax : (708) 922-3302
Atty. for WELLS FARGO BANK, N.A., D/B/A WELLS FARGO DEALER SERVICES,
its Successors and/or Assigns
Case 17-26896      Doc 89     Filed 04/26/18 Entered 04/26/18 18:06:29             Desc Main
                                Document     Page 3 of 3




                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 26, 2018, I electronically filed the foregoing Objection
to Confirmation with the Clerk of the Court using the ECF system which will send
notification of such filing to the following:

Tom Vaughn, Chapter 13 Trustee

And I certify that I have mailed by United States Postal Service the Objection to
Confirmation to the following non-ECF participants on the same date:

Kiisha Smith
7300 W. Fullerton Ave
#35280
Elmwood Park, IL 60707
Debtor, appearing Pro Se.
